                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )       MATTICE/CARTER
                                                )
         v.                                     )       CASE NO. 1:09-CR-98
                                                )
 RONALD BATTS                                   )




                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 27,

 2009.At the hearing, defendant entered a plea of guilty to Counts One and Thirty-One of the

 Indictment in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Counts One and Thirty-One of

 the Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

 Counts One and Thirty-One of the Indictment, and that the written plea agreement be accepted at

 the time of sentencing. I further recommend that defendant remain in custody until sentencing in

 this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.

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        The defendant’s sentencing date is scheduled for Thursday, January 14, 2010, at 9:00

 am.



        Dated: October 27, 2009                      s/William B. Mitchell Carter
                                                     UNITED STATES MAGISTRATE JUDGE




                                     NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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